Case No. 1:23-cv-00415-REB Document 111 filed 01/22/24 USDC Colorado pg 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No.: 23-cv-00415-AP

COLORADO OFF ROAD ENTERPRISE,
MARCUS TRUSTY, in his capacity as president of CORE as well as his individual capacity,
and
PATRICK MCKAY, in his capacity as a Board Member of CORE as well as his individual

      capacity, Petitioners,

v.

USDA FOREST SERVICE, an agency of the U.S. Department of Agriculture, and
DIANA M. TRUJILLO, in her official capacity as the Forests and Grasslands Supervisor
for the Pike and San Isabel National Forests, Cimarron and Comanche National
Grasslands,

      Respondents.


            FOURTH AMENDED JOINT CASE MANAGEMENT PLAN FOR
                 PETITIONS FOR REVIEW OF AGENCY ACTION



        On December 20, 2023, the parties submitted a proposed Third Amended Joint
Case Management Plan for Petitions for Review of Agency Action. ECF No. 110. The
Court has not yet entered a Case Management Plan for this matter. The parties’ Third
Amended Joint Case Management Plan proposed that Petitioners’ opening brief and
Respondents’ Response brief each be limited to 11,000 words. Petitioners now take the
position that due to the large Administrative Record consisting of approximately 150,000
pages, the detailed and complex facts regarding the National Forest System roads at
issue as well as the extensive process the agency underwent to prepare the Travel
Management Plan at issue, and the combining of cases on behalf of three parties, the
11,000-word limit is insufficient. Petitioners respectfully propose to file their Opening
Brief with a limit of 18,000 words. Petitioners contend that they have expended
significant time and resources to distill the material facts and legal arguments to the
minimum needed to accurately but comprehensively present this matter to the Court,
which has resulted in an Opening Brief comprising 42 pages of facts and 27 pages of
legal argument, totaling just under 18,000 words.
Case No. 1:23-cv-00415-REB Document 111 filed 01/22/24 USDC Colorado pg 2 of 2




        Respondents take no position on Petitioners’ requested word limit, but propose
that the same word limit apply to their Response Brief. The below sets forth that revised
proposed schedule:

       A.     Petitioners’ Opening Brief Due: January 22, 2024; 18,000 words

       B.     Respondents’ Response Brief Due: March 15, 2024; 18,000 words

       C.     Petitioners’ Reply Brief (If Any) Due: April 17, 2024; 4,000 words



       DATED this          day of            , 2024.


                                                  BY THE COURT




                                                  Robert E. Blackburn
                                                  U.S. District Court Judge

APPROVED:
                                                 TODD KIM
                                                 Assistant Attorney General
                                                 Environment & Natural Resources Division
                                                 U.S. Department of Justice

/s/Kevin R. Garden                               /s/Shaun M. Pettigrew
Kevin R. Garden                                  SHAUN M. PETTIGREW
The Garden Law Firm, P.C.                        Senior Trial Attorney
66 Canal Center Plaza, Suite 505                 Natural Resources Section
Alexandria, VA 22314                             c/o NOAA, Damage Assessment
Telephone: (703) 535-5565                        7600 Sand Point Way, NE
Email: kevin@gardenlawfirm.com                   Seattle, WA 98115
                                                 (202) 532-5973
Attorney for Petitioners                         shaun.pettigrew@usdoj.gov

                                                 Attorney for Respondents

                                           -2-
